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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             :
                                                     :
                                                     :
               v.                                    :      Crim. No.: 24-CR-406 (RC)
                                                     :
                                                     :
TRAYON WHITE, SR.                                    :
                                                     :
                                                     :
                              Defendant.             :


                         PARTIES’ JOINT PROPOSED SCHEDULE

The parties’ have conferred and jointly propose the following schedule for this matter:

                                              2025

   •   Status Hearing                                                      Jan. 7

   •   Parties Meet and Confer regarding status of discovery               Week of Jan. 6

   •   Discovery Motions (if necessary)                                    Jan. 28

   •   Discovery Motions Oppositions                                       Feb. 11

   •   Discovery Motions Replies                                           Feb. 18

   •   Hearing on Discovery Motions                                        Week of Mar. 3

   •   Rule 12 Motions                                                     Jun. 2

   •   Rule 12 Oppositions                                                 Jun. 16

   •   Rule 12 Replies                                                     Jun. 25

   •   Hearing on Rule 12 Motions                                          Week of Jun. 30
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    •   Motions In Limine                                                      Sep. 8

    •   Oppositions to Motions In Limine                                       Sep. 22

    •   Replies to Motions In Limine                                           Sep. 29

    •   Hearing on Motions In Limine                                           Week of Oct. 13

    •   Parties exchange proposed jury questionnaires and                      Oct. 6
        proposed jury instructions

    •   Objections to proposed jury questionnaires                             Oct. 20
        and proposed jury instructions

    •   Pretrial Conference                                                    Week of Nov. 17

    •   Venire Completes Questionnaire                                         Dec. 1 1

    •   Individual Voir Dire Begins                                            Dec. 8

    •   Government provides Jencks/Giglio Materials                            Dec. 12
        (most of which will have already been produced)




1
        Due to the nature of this case and the publicity that it has received, the parties ask that the
Court summon a Special Jury Panel (Jury Office requires at least 10-week notice) and that a jury
questionnaire be used. The parties request that the Court summon a Special Jury Panel because
many members of the venire may have already gleaned a significant amount of information about
this case or have formed strong opinions, or both. Similarly, the parties believe that using a jury
questionnaire is necessary in this case to ensure that an unbiased jury is selected, since this case
involves a public figure and there has been significant media coverage.

       The parties suggest that the venire complete the questionnaire on Dec. 1. This would allow
time for the questionnaires to be copied and reviewed by the parties and afford the parties an
opportunity to confer to determine if there are agreed upon “for cause” challenges, before
individual voir dire begins on Dec. 8.
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                                 2026

•   Trial Commences                                         Jan. 12


                                Respectfully submitted,

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                                _______/s/____________
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